     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 1 of 9 Page ID #:303



1      Lenore L. Albert, Esq. SBN 210876
2      LAW OFFICES OF LENORE ALBERT
       1968 S. Coast Hwy #3960
3      Laguna Beach, CA 92651
4      Telephone (424)365-0741
       Email: lenalbert@InteractiveCounsel.com
5
       Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
6      Jane Roe 2, Jane Roe 3, and John Roe 2, on behalf of
7       themselves and all others similarly situated
8                                UNITED STATES DISTRICT COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11     JOHN ROE 1, an individual; JANE ROE 1, CASE NO. 22-cv-00983-DOC
12     an individual; JANE ROE 2 an individual;
       JANE ROE 3, an individual, JOHN ROE 2, Assigned to the Hon. David O. Carter
13     on behalf of themselves and all others   Complaint filed: 03-18-2022
14     similarly situated,
15                                 Plaintiff,             MOTION FOR PROTECTIVE ORDER
16     vs.
17                                          Hearing Date: July 18, 2022
       THE STATE BAR OF CALIFORNIA;         Time: 8:30AM
18     TYLER TECHNOLOGIES, INC.; KEVAN Crtm: 10A
       SCHWITZER; RICK RANKIN; and DOES
19
       4 through 10, inclusive,
20                              Defendants.
21           TO THE COURT, THE PARTIES AND ALL ATTORNEYS OF RECORD:
22           COMES NOW PLAINTIFFS, John Roe 1, Jane Roe 1, Jane Roe 2, Jane Roe 3,
23     and John Roe 2, and hereby moves for a protective Order before the Honorable David O.
24     Carter sitting in Courtroom 10A of the United States District Court for the Central
25     District of California located at 411 W. Fourth Street, Santa Ana, California.
26           Plaintiffs Roes request leave to proceed in the above-captioned matter using
27     fictitious names, on the grounds that use of their real names would cause Plaintiff
28

                                                          1
                                MOTION FOR PROTECTIVE ORDER
              Roe v The State Bar of California, et al.        30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 2 of 9 Page ID #:304



1      substantial annoyance, embarrassment, humiliation, and further invasion of their
2      constitutionally protected right of privacy.
3            Meeting of Counsel: On May 26, 2022 counsel for all parties met and conferred on
4
       the issue whether the defendants were willing to stipulate to a protective order to keep
5
       the plaintiffs identities anonymous. Defendants represented that they intended to move to
6
       dismiss in part on the grounds no application to keep the plaintiffs names anonymous
7
       was made. As such Local Rule 7-3 has been met by a good faith attempt to informally
8
       resolve this dispute before seeking relief with the Court.
9
             This motion is based on the motion, attached memorandum of points and
10
       authorities, declarations filed concurrently herewith and any other pleadings or papers
11
12     that may be presented at the time of hearing.

13     Dated: June 14, 2022                        Respectfully Submitted,
                                                   LAW OFFICES OF LENORE ALBERT
14                                                 /s/ Lenore Albert______________________
15                                                 LENORE L. ALBERT, ESQ.
                                                   Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
16
                                                   Jane Roe 2, Jane Roe 3, and John Roe 2, on
17                                                 behalf of themselves and all others similarly
18                                                 situated

19
20
21
22
23
24
25
26
27
28

                                                          2
                                MOTION FOR PROTECTIVE ORDER
              Roe v The State Bar of California, et al.           30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 3 of 9 Page ID #:305



1                            MEMORANDUM OF POINTS & AUTHORITIES
2                                                  I.      FACTS
3             On March 18, 2022 the plaintiffs, John Roe 1, Jane Roe 1, Jane Roe 2, Jane Roe 3,
4
       and John Roe 2, on behalf of themselves and all others similarly situated filed this
5
       putative class action in the Superior Court of California, county of Orange alleging that
6
       the State Bar of California and others violated their right to privacy when over 226,000
7
       confidential records State Bar disciplinary records were published on the internet through
8
       a public records search site with the URL JudyRecords.com.
9
              There is no disagreement among the parties that the records were supposed to be
10
       confidential and that confidential nature relates to the identity of the witness or attorney
11
12     involved.

13                                                  II.    LAW
14            The Ninth Circuit allows the use of pseudonyms by parties when the issue of right
15     to privacy exists. See, United States v. Doe, 655 F.2d 920, 922n. (9th Cir. 1981);
16            The federal courts have regularly sanctioned the use of fictitious names by
17     Plaintiffs where necessary to protect them from harassment, injury, ridicule or personal
18     embarrassment, or where an important privacy interest is at stake. Doe v. Stegall, 653
19     F.2d 180,186, reh'gden., 659 F.2d 1075 (5th Cir. 1981); Lindsey v. Dayton .. Hudson
20     Corp., 592 F.2d 1118, 1125 (10th Cir.1979); Doe v. Chafee, 355 F. Supp. 112 (N.D. Cal.
21
       1973); Doe v. Lavine, 347 F. Supp. 357 (S.D.N.Y. 1972); Roe v. Borup, 500 F. Supp.
22
       127, 130 (E.D. Wis. 1980); United States v. Doe, 556 F.2d 391,393 (6th Cir. 1977); Doe
23
       v. Deschamps, 64 F.R.D. 652 (D. Mont. 1974).
24
              The U.S. Supreme Court has also used the pseudonym “Roe” when the abortion
25
       rights case was sitting before it, see Roe v. Wade, 410 U.S. 113 (1973).
26
              The decision whether to permit the use of fictitious names is left to the discretion
27
       of the trial court.
28

                                                           3
                                 MOTION FOR PROTECTIVE ORDER
               Roe v The State Bar of California, et al.           30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 4 of 9 Page ID #:306



1                                        III.    LEGAL ARGUMENT
2              A. Protection of Privacy As Grounds For Proceeding Anonymously.
3              Here, multiple attorneys including those with medical or other issues which the
4
       State Bar of California tags as confidential disciplinary proceedings have been poured
5
       out onto the internet. Now, the State Bar objects to the plaintiffs keeping their identities
6
       hidden from the auspices of a public court record – on the internet.
7
               The use of fictitious names or pseudonyms to protect the Plaintiffs from
8
       embarrassment or harassment not only implicates an important privacy right, but is
9
       intimately bound up with the merits of their Information Practices Act and civil rights
10
       causes of action. The essence of Plaintiffs case is that this data breach, caused by the
11
12     Defendants has harmed the Plaintiffs by subjecting them to emotional distress and

13     potential job loss, extortion, hostility and oppression by the community. As explained in
14     the declarations, filed with this motion, Plaintiffs are fearful and not getting a straight
15     answer from the agency that is set up with their own membership fees on how to protect
16     them.
17             With the filing of this lawsuit, Plaintiffs have raised a constitutional issue of major
18     concern: the rights of those with confidential information that the State Bar compels
19     them to divulge in order to maintain membership status. This case has already attracted
20     public attention.
21
               B. Fear of Retaliation, Exploitation or Other Harm
22
               Plaintiffs already fear retaliation by the State Bar. By publishing the name of the
23
       Plaintiffs, it will only serve to once again invade Plaintiffs’ privacy causing further
24
       potential harm. Certainly, it would be cruel to condition Plaintiffs right to a forum on a
25
       procedure which would in effect deny them the very right to privacy the State Agency
26
       and other co-defendants breached in the case. Because the member’s public records
27
       include their phone number, email address and location, by also disclosing a confidential
28

                                                           4
                                 MOTION FOR PROTECTIVE ORDER
               Roe v The State Bar of California, et al.        30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 5 of 9 Page ID #:307



1      investigation on a certain matter was in place, it is easy fodder to then to be doxed on the
2      dark web, a set up for harassment by never-do-wells. Plaintiffs should not have to give
3      up their right of confidentiality in order to file a suit which seeks to vindicate that very
4
       same right of confidentiality. Roe v. Borup, supra at 130.
5
                                            IV.     CONCLUSION
6
             For all of the foregoing reasons, the Plaintiffs, and each of them, respectfully
7
       request that this Court allow the plaintiffs to proceed under the pseudonyms of Jane Roes
8
       and John Roes.
9
10
11     Dated: June 14, 2022                        Respectfully Submitted,
12                                                 LAW OFFICES OF LENORE ALBERT
                                                   /s/ Lenore Albert______________________
13                                                 LENORE L. ALBERT, ESQ.
14                                                 Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
                                                   Jane Roe 2, Jane Roe 3, and John Roe 2, on
15
                                                   behalf of themselves and all others similarly
16                                                 situated
17
18
19
20
21
22
23
24
25
26
27
28

                                                          5
                                MOTION FOR PROTECTIVE ORDER
              Roe v The State Bar of California, et al.           30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 6 of 9 Page ID #:308



1                                PROOF OF SERVICE OF DOCUMENT
2
3      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
4      My business address is: 1968 S Coast Hwy #3960, Laguna Beach, CA 92651
       A true and correct copy of the foregoing document entitled:
5
       MOTION FOR PROTECTIVE ORDER
6
       will be served or was served (a) on the judge in chambers in the form and manner
7      required by LBR; and (b) in the manner stated below:
8
       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
9
       TRANSMISSION OR EMAIL (state method for each person or entity served):
10     Pursuant to F.R.Civ.P. on 06-14-2022, I served the following persons and/or entities ECF
11
       or email as follows:

12     X Service information continued on attached page
13     I declare under penalty of perjury under the laws of the United States that the foregoing
       is true and correct.
14
15      06-14-2022                 James D. Ocon                  /s/James D. Ocon
16      Date                   Printed Name                       Signature
17
18
19
20
21
22
23
24
25
26
27
28

                                                           6
                                 MOTION FOR PROTECTIVE ORDER
               Roe v The State Bar of California, et al.       30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 7 of 9 Page ID #:309



1                                            SERVICE BY ECF
2      Defendant
3      The State Bar of California                represented by Michael G Rhodes
4                                                                Cooley LLP
                                                                 3 Embarcadero Center 20th Floor
5                                                                San Francisco, CA 94111
6                                                                415-693-2000
                                                                 Fax: 415-693-2222
7
                                                                 Email: rhodesmg@cooley.com
8                                                                LEAD ATTORNEY
9                                                                ATTORNEY TO BE NOTICED
10                                                              Barrett J Anderson
11                                                              Cooley LLP
                                                                4401 Eastgate Mall
12
                                                                San Diego, CA
13                                                              858-550-6000
14
                                                                Fax: 858-550-6420
                                                                Email: banderson@cooley.com
15                                                              ATTORNEY TO BE NOTICED
16
                                                                Gregory John Merchant
17                                                              Cooley LLP
18                                                              3175 Hanover Street
                                                                Palo Alto, CA 94304
19
                                                                650-843-5620
20                                                              Email: gmerchant@cooley.com
21                                                              ATTORNEY TO BE NOTICED
22                                                              Walter Waidelich
23                                                              Cooley LLP
                                                                4401 Eastgate Mall
24
                                                                San Diego, CA 92121
25                                                              858-550-6000
26                                                              Fax: 858-550-6420
                                                                Email: cwaidelich@jonesday.com
27                                                              ATTORNEY TO BE NOTICED
28
       Defendant
                                                         7
                               MOTION FOR PROTECTIVE ORDER
             Roe v The State Bar of California, et al.         30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 8 of 9 Page ID #:310



1      Tyler Technologies, Inc.                   represented by Jason Nathaniel Haycock
2      also known as                                             K and L Gates LLP
       Doe 1                                                     Four Embarcadero Center Suite
3
                                                                 1200
4                                                                San Francisco, CA 94111
5                                                                415-882-8200
                                                                 Fax: 415-882-8220
6                                                                Email:
7                                                                jason.haycock@klgates.com
                                                                 LEAD ATTORNEY
8
                                                                 ATTORNEY TO BE NOTICED
9
10
                                                                Christina N Goodrich
                                                                K and L Gates LLP
11                                                              10100 Santa Monica Boulevard
12                                                              8th Floor
                                                                Los Angeles, CA 90067
13                                                              310-552-5000
14                                                              Fax: 310-552-5001
                                                                Email:
15
                                                                christina.goodrich@klgates.com
16                                                              ATTORNEY TO BE NOTICED
17     Defendant
18     Kevan Schwitzer                            represented by David Belcher
19                                                               Faegre Drinker Biddle and Reath
                                                                 LLP
20                                                               1800 Century Park East Suite
21                                                               1500
                                                                 Los Angeles, CA 90067
22
                                                                 310-203-4000
23                                                               Fax: 310-229-1285
24                                                               Email:
                                                                 david.belcher@faegredrinker.com
25                                                               LEAD ATTORNEY
26                                                               ATTORNEY TO BE NOTICED
27
                                                                Peter William Baldwin
28                                                              Faegre Drinker Bibble and Reath
                                                         8
                               MOTION FOR PROTECTIVE ORDER
             Roe v The State Bar of California, et al.         30-2022-01250695-CU-AT-CXC
     Case 8:22-cv-00983-DOC-DFM Document 41 Filed 06/14/22 Page 9 of 9 Page ID #:311



1                                                                        LLP
2                                                                        1177 Avenue of the Americas
                                                                         41st Floor
3
                                                                         New York, NY 10036
4                                                                        212-248-3140
5                                                                        Fax: 212-248-3141
                                                                         Email:
6                                                                        peter.baldwin@faegredrinker.com
7                                                                        ATTORNEY TO BE NOTICED
8      Defendant                                                         Michael Gold
9      Rick Rankin                                                       MAG@jmbm.com via Email
10
       Tiana A. Demas       tdemas@cooley.com
11
       Christina N. Goodrich     klgateseservice@klgates.com, christina.goodrich@klgates.com
12
       Michael Allan Gold      mgold@jmbm.com, cl7@jmbm.com, mastercalendar@jmbm.com
13
       Lenore L Albert    docket@interactivecounsel.com, lenorealbert@msn.com, lenalbert@interactivecounsel.com
14
       Justin Alexander Anderson      learly@jmbm.com, janderson@jmbm.com, mastercalendar@jmbm.com
15
       Michael G Rhodes mrhodes@cooley.com, john-brocales-7263@ecf.pacerpro.com, efiling-
16     notice@ecf.pacerpro.com, efilingnotice@cooley.com, rhodesmg@cooley.com, smartinez@cooley.com
17     Walter Waidelich     cwaidelich@cooley.com, kjones@cooley.com
18     David Belcher docketgeneral@faegredrinker.com, shanta.teekah@faegredrinker.com,
       david.belcher@faegredrinker.com
19
       Beth W. Petronio     beth.petronio@klgates.com
20
       Gregory John Merchant       gmerchant@cooley.com
21
22     Peter William Baldwin peter.baldwin@faegredrinker.com, usacac.criminal@usdoj.gov,
       peter.baldwin@usdoj.gov
23
       Barrett J Anderson      banderson@cooley.com, mdejesus@cooley.com, efiling-notice@ecf.pacerpro.com
24
25
26
27
28

                                                              9
                                     MOTION FOR PROTECTIVE ORDER
                Roe v The State Bar of California, et al.                30-2022-01250695-CU-AT-CXC
